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Federal` District Court
|\/lidd|e District
Commonwea|th of Pennsylvania
Joshua A l\/lonighan
Vs Case No. 1:18-01654

Tom Wo|fv .

Vvvv. ,

Affidavit 01 no- answer
Before me, the undersigned notary public, this day, personally appeared Joshua A
l\/lonighan, to me known, Who being duly swornaccording to law, deposes the following:
l hereby'affirm as of September 11 2018 in relation to Caption, l have checked rny mail
box, l have not received any correspondence that would show any reply, response or

7 accommodation’s form Tom Wolt in this case. y

Joshua A l\/lonighan Taxpayer
6363 Basehore Rd
_l\/lechanicsburg PA17050
1717319 8014
jmonighan@grnail;com

/ ~s \ //’ `
./ //%Wz v ,,/
// / v
Sworn and Suiosc:ribed This l z day of
§Q #¢w~$-'-/ _4 2018 in the Commo.nwea§lth of Pennsylvania <Cotmty of

Cumberland `

 

By ~:7,,1§.,,,_._

_ COMMONWEALTH OF PENNSYLVAN|A
NOTARlAL SEAL
Jarod A. Buck, Notary Pub|ic
upper Allen Twp., Cumbertand County
My Commission Expires Oct. 24, 2020
MEMBER. PENNvavANiA AssociATloN oF NoTARlES

